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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA

IN RE:                                         )
                                               )
Petr Vach,                                     )       Case # 6:19-bk-00976-KSJ
Heather Vach,                                  )       Chapter 7
                                               )
                 Debtors                       )

    CHAPTER 7 TRUSTEE’S MOTION TO (I) APPROVE A SHORT SALE OF REAL
      PROPERTY FREE AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES,
        AND INTERESTS PURSUANT TO 11 U.S.C. § 363(b), (f), AND (m), (II)
          SURCHARGE AGREEMENT BETWEEN SECURED LENDER
                AND THE ESTATE, AND (III ) OTHER RELIEF

         Lori Patton (the “Trustee”), duly appointed Chapter 7 Trustee for the above referenced

debtors (the “Debtors”) pursuant to Sections 105 and 363 of the Bankruptcy Code hereby files this

motion (“Motion”) for entry of an order for authority to sell certain real property free and clear of

all liens, encumbrances, and interests. In support thereof, the Trustee respectfully states as follows:

                                            JURISDICTION

         1.      This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A), (M),

(N), and (O).

         2.      Venue is proper before this Court pursuant to 28 U.S.C. §§1408 and 1409.

         3.      The basis for the relief requested are 11 U.S.C. §§ 363(b), (f), and (m), Federal

Rules of Bankruptcy Procedure 2002 and 6004.

                                           BACKGROUND

         4.      On 2/15/2019 the Debtors commenced this case by filing a voluntary petition for

relief under Chapter 7 of the United States Bankruptcy Code (the “Petition Date”).

         5.      Lori Patton is the duly appointed and qualified Chapter 7 Trustee.

         6.      The Trustee held and concluded the 341 meeting of creditors on 3/27/2019.

         7.      The Debtors scheduled a 100% ownership interest in the real property located at

                                                                                                     1
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910 Hawk Landing Fruitland Park, FL 34731 (the “Property”) and legally described as follows:


        Lot 37, Wingspread, according to the map or plat thereof, as recorded in Plat Book 38,

Page(s) 64 through 67, inclusive, of the Public Records of Lake County, Florida.


        8.       The Debtors scheduled the Property as having a value of $482,214.00 subject to a

mortgage in favor of Quicken Loans (the “Secured Creditor(s)”) in the amount owed on the

Petition Date of approximately $410,970.00.


        9.       The Trustee, after reviewing certain materials, including (without limitation) the

BK Score™1, sales analysis report and opinion of value for the Property provided by BK Global

(“BKRES”), has determined it to be in the best interest of the Debtors’ estate and all creditors to

negotiate to obtain Secured Creditor’s agreement and consent (“Consent”) to:

                 a. sell the Property to whichever third party Trustee determines to have made the

                      best qualified offer during a public sale approved by the Court;

                 b. release the Senior Mortgage and otherwise waive all of its claims against the

                      estate with respect to the Property (including any deficiency claims resulting

                      from the proposed sale); and

                 c. agree to a 11 U.S.C. § 506 surcharge to pay all of the expenses associated with

                      the proposed sale, including the payment of a 6% real estate brokerage

                      commission to BKRES and reimbursement of their out-of-pocket expenses, and

                      provide a carve out for the benefit of allowed unsecured creditors of the

                      Debtors’ estate.

        10. The Secured Creditor has represented and warranted that it possesses a valid,

perfected, enforceable and unavoidable first mortgage lien on the Property by virtue of a



1
  The BK Score™ is a 100-point rating that is generated by a proprietary algorithm from 10 unique property
attributes in order to consistently measure sales confidence and predict market value.
                                                                                                             2
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promissory note and mortgage recorded in the Official Records Book 4630, Page 917, which

Mortgage is now held by Quicken Loans Inc., by virtue of Assignment(s) of Mortgage recorded

in Official Records Book 5152, Page 2241, consisting of principal and Interest (the “Secured

Creditor Indebtedness”).

                                        RELIEF REQUESTED

       11.      The Trustee requests the entry of an order pursuant to Section 363 of the

Bankruptcy Code approving the sale of the Property, using the services of BKRES, free and clear

of all liens, claims, encumbrances, and interests. As a material inducement to the Trustee’s

decision to pursue the proposed sale, the Secured Creditor consents to the Property’s sale and the

creation of a carve-out fund (the “Carve-Out Fund”) that will provide for the costs of this case to

be paid and provide a recovery for other creditors. The Trustee requests that any creditor (other

than the Secured Creditor) asserting an interest or secured claim against the Property be required

to assert no later than 5 days prior to the hearing on the instant Motion, and substantiate the basis

for such asserted interest or secured claim, or the Court will authorize the sale of the Property free

and clear of any such asserted interest or security interest, with such claims, at best, being treated

as a general unsecured claim.

                                         BASIS FOR RELIEF

                A.     The Sale of the Property Should Be Approved

       12.      The Trustee seeks the Court’s authority to sell the Property free and clear of all

liens, claims, encumbrances, and interests, but otherwise “As-Is, Where-Is” and without

representations or warranties of any type, express or implied, being given by the Trustee and his

professionals, pursuant to the Sale procedures described below.

       13.      Pursuant to Section 363(b) of the Bankruptcy Code, a Trustee, after notice and

hearing, may use, sell, or lease property of the Debtor’s estate other than in the ordinary course of

business. The Court should approve the sale if the Trustee can demonstrate a sound business

                                                                                                    3
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justification for the sale and if the sale process is fair, open, and reasonable. See Official Comm.

Of Unsecured Creditors of LTV Aerospace & Defense Co. v. LTV Corp. (In re Chateaugay Corp.),

973 F.2d 141, 143 (2d Cir. 1992); see also In re Sarah’s Tent, LLC, 396 B.R. 571, 573 (Bankr.

S.D. Fla. 2008). Further, Bankruptcy Rule 6004(f) contemplates sales outside of the ordinary

course of business.

       14.      The Trustee, through the services of BKRES, have listed the property and accepted

an offer that has been approved by the Secured Creditor and will result in a carve-out for the

Bankruptcy Estate of $18,000.00. Attached as Exhibits “A” and “B” respectively are the estimated

settlement statement and letter of consent/approval from the Secured Creditor.

       15.      Accordingly, the Trustee submits that the sale of the Property pursuant to the above

process is reasonable under Section 363(b) of the Bankruptcy Code.

       B.       The Sale of the Property Should Be Approved Free and Clear of All
                      Interests

       16.      Pursuant to Section 363(f) of the Bankruptcy Code, the Trustee may sell property

free and clear of any interest in such property in an entity other than the estate if (1) permitted

under applicable non-bankruptcy law; (2) the party asserting such interest consents; (3) the interest

is a lien and the purchase price at which the property is to be sold is greater than the aggregate

value of all liens on the property; (4) the interest is the subject of a bona fide dispute; or (5) the

party asserting the interest could be compelled, in a legal or equitable proceeding, to accept a

money satisfaction for such interest. See In re Smart World Techs., LLC, 423 F.3d 166, 169 n.3

(2d Cir. 2005) (“Section 363 permits sales of assets free and clear of claims and interests . . . It

thus allows purchasers . . . to acquire assets [from a debtor] without any accompanying

liabilities.”); see also In re MMH Auto. Group, LLC, 385 B.R. 347, 367 (Bankr. S.D. Fla. 2008).

       17.      The Trustee states that he shall satisfy Section 363(f)(2) of the Bankruptcy Code

because the Secured Creditor consents to a sale of the property under Section 363(f)(2) of the

Bankruptcy Code, free and clear of all liens, claims, encumbrances, and interests.
                                                                                                    4
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           18. The Trustee requests that any creditor (other than the Secured Creditor) asserting an

interest or secured claim against the Property, after proper notice is given, be required to timely

assert and substantiate the basis for such asserted interest or secured claim, by filing and serving

responsive papers no later than 5 days prior to the hearing on the instant Motion, or the Court will

authorize the sale of the Property free and clear of any such asserted interest or security interest,

with such claims, at best, being treated as a general unsecured claim.2 Failure to object after proper

notice and opportunity to object is deemed consent. See BAC Home Loans Servicing LP v. Grassi,

2011 WL 6096509 (1st Cir. BAP Nov. 21, 2011); Citicorp Homeowners Servs., Inc. v. Elliott, 94

B.R. 343 (E.D. Pa. 1988); In re Gabel, 61 B.R. 661 (Bankr. W.D. La. 1985); Futuresourse LLC v.

Reuters Ltd., 312 F.3d 281 (7th Cir.); In re Harbour E. Dev., Ltd., 2012WL1851015, at *12 (Bankr.

S.D. Fla., May 21, 2012).

           19.      Accordingly, under Section 363(f)(2) of the Bankruptcy Code, the Trustee seeks

authority to sell the Property free and clear of all liens, claims, encumbrances, and interests but

otherwise “As-Is, Where-Is” and without representations or warranties of any type given by the

Trustee or his professionals. Notwithstanding that the Trustee will seek authority to execute all

documents and instruments he deems reasonable, necessary and/or desirable to close the sale, the

only documents that the Trustee shall be required to deliver to close shall be (a) a Trustee’s Deed,

and (b) a copy of the Final Sale Order.

           20.      The Secured Creditor agrees to pay at closing (1) all outstanding real estate taxes,

including any prorated amounts due for the current tax year; (2) if applicable, the lesser of any

HOA fees accrued post-petition or the equivalent to twelve months’ assessments and (3) all closing

costs excluding professional fees but including State Documentary Stamps for the entire closing

price pursuant to Florida Statue Sections 201.01 and 201.02; (4) the carve out to the Trustee. Any

payments by the Secured Creditor as stated herein shall be subject to any and all limitations on the


2
    The Trustee reserves the right to dispute the alleged amount of any such claim both to validity and amount.
                                                                                                                  5
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Secured Creditor’s liability for any fees and costs under applicable law.

       C.       The Sale Will Be Undertaken by the Buyer in Good Faith

       21.      Section 363(m) of the Bankruptcy Code protects a good faith purchaser’s interest

in property purchased from a debtor notwithstanding that the sale conducted under section 363(b)

was later reversed or modified on appeal.

       22.      The sale should be found to have been in good faith if the Trustee can demonstrate

the transaction occurred at arm’s-length and without fraud or collusion. See Kabro Assocs. of West

Islip, LLC v. Colony Hill Assocs. (In re Colony Hill Assocs.), 111 F.3d 269, 276 (2d Cir. 1997)

(“Typically, the misconduct that would destroy a purchaser’s good faith status at a judicial sale

involves fraud, collusion between the purchaser and other bidders or the trustee, or an attempt to

take grossly unfair advantage of other bidders.” (citation omitted)); see also In re Lorraine Brooke

Associates, Inc., No. 07-12641 2007 WL 2257608 (Bankr. S.D. Fla. Aug. 2, 2007) (holding that a

sale was entitled to the protections of Section 363(m) of the Bankruptcy Code when it was based

upon arm’s length bargaining and without collusion).

       23.      The Trustee asserts that the sale of the Property will utilize a competitive and

transparent marketplace that facilitates an arm’s-length sale without fraud or collusion.

Accordingly, the Trustee respectfully requests that the Court find that the purchaser(s) will be

entitled to the protections of Section 363(m) of the Bankruptcy Code.

       24.      The Trustee further states that:

                (a)    the Trustee has reviewed the tax implications of the proposed Sale and has

determined that the proposed sale will not result in a capital gains tax event to the estate or other

taxable event which would negate the benefit realized from the Carve Out;

                (b)    the Trustee has determined, based upon a review of the schedules and

information derived from the 341 meeting, that there will likely be a meaningful distribution to

creditors based upon the understanding that the final sale price and the total dollar amount of claims

                                                                                                    6
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to be filed in this case are both unknown and can only be estimated at this time; and

                 (c)   Given the information available at this time, the Trustee has made an

educated evaluation and determined that the proposed Sale is in the best interest of the estate and

its creditors.

        25. The Trustee respectfully requests that this Court: (a) waive the 14 day stay pursuant to

Rule 6004(h), deem the sale order enforceable immediately upon entry, and authorize the Trustee

to close on the sale immediately upon entry of the Final Sale Order; (b) authorize the Trustee to

take all actions and execute all documents she deems reasonable, necessary and/or desirable to

effectuate the requested relief; (c) retain sole and exclusive personal subject matter jurisdiction to

implement, interpret and enforce the terms of the this Motion and the Final Sale Order; and (d)

adjudicate all claims, controversies and/or disputes arising from or related to the proposed sale.

                                            CONCLUSION

        WHEREFORE, the Trustee respectfully requests that the Court enters an Order approving

the short sale of the Property pursuant to Sections 105 and 363 of the Bankruptcy Code and for

such other and further relief as this Court deems just and equitable under the circumstances of the

case.


                                                      RESPECTFULLY SUBMITTED,
                                                      /s/Lori Patton
                                                      Lori Patton, Trustee
                                                      P.O. Box 520547
                                                      Longwood, FL 32725
                                                      Phone: (407) 937-0936
                                                      E-mail: trustee@trusteepatton.com




                                                                                                     7
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                                  CERTIFICATE OF SERVICE


        Under penalty of perjury, I have read the foregoing Motion and it is true and correct to the
best of my knowledge. I HEREBY CERTIFY that a true and correct copy of the foregoing Motion
has been furnished via first-class United States Mail, postage prepaid, or via electronic mail this
to: Petr Vach & Heather Vach, 910 Hawk Landing Fruitland Park, FL 34731; creditors listed on
the attached matrix; and the United States Trustee, P.O. Box 520547 Longwood, FL 32725.

                                                     /s/Lori Patton
                                                     Lori Patton, Trustee
                                                     P.O. Box 520547
                                                     Longwood, FL 32725
                                                     Phone: (407) 937-0936
                                                     E-mail: trustee@trusteepatton.com




                                                                                                  8
Label Matrix for local noticingCase 6:19-bk-00976-KSJ       Doc 27 Filed 10/22/19
                                              Heather Dawn Vach                     Page
                                                                                      Petr 9 of 12
                                                                                           Vach
113A-6                                        910 Hawk Landing                        910 Hawk Landing
Case 6:19-bk-00976-KSJ                        Fruitland Park, FL 34731-6538           Fruitland Park, FL 34731-6538
Middle District of Florida
Orlando
Tue Oct 22 13:49:02 EDT 2019
Chase Bank USA, N.A.                          Discover Bank                           Internal Revenue Service
c/o National Bankruptcy Services, LLC         Discover Products Inc                   Post Office Box 7346
P.O. Box 9013                                 PO Box 3025                             Philadelphia PA 19101-7346
Addison Texas 75001-9013                      New Albany, OH 43054-3025


U.S. Bank NA dba Elan Financial Services      Verizon                                 Lori Patton +
Bankruptcy Department                         by American InfoSource as agent         Law Office of Lori Patton, PA
PO Box 108                                    PO Box 4457                             PO Box 520547
St. Louis MO 63166-0108                       Houston, TX 77210-4457                  Longwood, FL 32752-0547


Leslie Rushing +                              Anthony D Colunga +                     Andrea B Anderson +
Quintairos, Prieto, Wood & Boyer, P.A.        Weinstein & Riley PS                    Bogin, Munns, Munns, P.A.
1475 Centerpark Blvd., Suite 130              2001 Western Avnue                      Post Office Box 2807
West Palm Beach, FL 33401-7424                Suite 400                               Orlando, FL 32802-2807
                                              Seattle, WA 98121-3132

Note: Entries with a ’+’ at the end of the    End of Label Matrix
name have an email address on file in CMECF   Mailable recipients      12
                                              Bypassed recipients       0
                                              Total                    12
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  Ocean Title LLC                                                                                                         ALTA Combined Se lement Statement
  1095 Broken Sound Pkwy NW
  Ste 100
  Boca Raton, FL 33487
                                                                             "A"
  (866) 202‐8200


  File #:                     OT‐79                        Property             910 Hawk Landing          Se lement Date    11/29/19
  Prepared:                   10/18/19                                          Fruitland Park, FL 34731  Disbursement Date 11/29/19
  Escrow Oﬃcer:               Joshua M. Liszt Esq.                              FRUITLAND PARK,
                                                                                WINGSPREAD SUB LOT 37
                                                                                PB 38 PGS 64‐67 ORB 4225
                                                                                PG 2114
                                                           Buyer                James Brush
                                                                                404 Broadway
                                                                                Kissimmee, FL 34771
                                                           Seller               Lori Pa on, Bankruptcy of
                                                                                Estate of Petr Vach and
                                                                                Heather Vach
                                                                                P.O. Box 520547
                                                                                Longwood, FL 32725
                                                           Lender




                    Seller                                                                                                               Buyer
        Debit                   Credit                                                                                           Debit              Credit
                                              Primary Charges & Credits
                               $377,000.00 Sales Price of Property                                                              $377,000.00
                                              Deposit                                                                                                $3,600.00
                                              Loan Amount                                                                                         $288,000.00


                                              Prora ons/Adjustments
         $4,988.66                            County Taxes 01/01/2019 to 11/29/2019                                                                  $4,988.66
                                 $1,215.00 Title Policy Adjustment                                                                $1,215.00


                                              Payoﬀs/Payments
      $325,859.34                             Payoﬀ to Quicken Loans


                                              Government Recording and Transfer Charges
                                              Recording Fees                                                                        $279.00
                                              ‐‐‐Deed: $27.00
                                              ‐‐‐Mortgage: $252.00
         $2,639.00                            Documentary Stamp Tax (State Deed Taxes) to Oﬃcial Records Department
                                              Documentary Stamp Tax (State Security Instrument Taxes) to Oﬃcial                   $1,008.00
                                              Records Department
                                              E‐Recording (3 documents) to Simpliﬁle                                                 $13.50
                                              Intangible Tax (State Security Instrument Taxes) to Oﬃcial Records                    $576.00
                                              Department
                                              Record MTS Order to Ocean Title LLC                                                   $100.00


                                              Commissions
        $15,080.00                            Lis ng Agent Commission to Century 21 Cario
         $7,540.00                            Selling Agent Commission to RE/MAX Premier Proper es


                                              Title Charges
         $1,791.00                            Title ‐ Lender's Title Policy to Fidelity Na onal Title Insurance Company
         $1,295.00                            Title ‐ Se lement Fee to Ocean Title LLC                                            $1,295.00
            $350.00                           Title Exam Fee to Fidelity Na onal Title Insurance Company
                                              Title ‐ Owner's Title Policy to Fidelity Na onal Title Insurance Company              $971.00




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                    Seller                                                                                                        Buyer
        Debit                  Credit                                                                                     Debit              Credit


                                            Miscellaneous Charges
        $18,000.00                          Bk Estate Fee to Lori Pa on, Bankruptcy of Estate of Petr Vach and Heather
                                            Vach
                                            Estoppel Search to Clear Choice Tax & Lien Service                               $90.00
            $550.00                         HOA Dues to Wingspread Owners associa on                                        $557.02
            $122.00                         Lien Search to Clear Choice / Ocean Title LLC (reimb)
                                            Transfer/ Delinquent Fee to Florida CAM Schools                                 $500.00


                    Seller                                                                                                        Buyer
        Debit                  Credit                                                                                     Debit              Credit
      $378,215.00             $378,215.00                                    Subtotals                                   $383,604.52       $296,588.66
                                                                         Due from Buyer                                                     $87,015.86
                                    $0.00                                Due from Seller
      $378,215.00             $378,215.00                                     Totals                                     $383,604.52       $383,604.52


  See signature addendum




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Using Qualia                                                                    Page 2 of 2                                                             OT‐79
                                                                                                                                          Printed on 10/18/19
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                                                                      "B"                                    Short Sale Approval Letter
                                                                                                                                        Real Estate Agent Copy

1050 Woodward Avenue | Detroit, MI 48226

                                                                                         Loan Information
                                                                                              Loan Number: 3339470548
                                                                                         Property Address: 910 Hawk Lndg
         Kavita Uttamchandani                                                                              Fruitland Park, FL 34731
         1650 Sand Lake Rd.Ste 107                                                               Notice Date: 10/21/2019
         Orlando, FL 32809




    Hi, Kavita Uttamchandani.

    The short sale has been approved for your clients, Petr Vach and Heather Vach.
    .

    Quicken Loans will accept a short payoff involving the above-referenced property. A copy of this
    lletter has been sent to your client for review.tter has been sent to your client for review.
    .

    This letter should be used by you and the closing agent. This approval is exclusive to this offer only for Petr Vach and Heather Vach.
    Failure to comply with providing additional or updated documents upon request will jeopardize your final approval.
    .

    Enclosed, you will find the following documents
                                          documents:
    .

    .....• Real estate agent and closing agent instructions that must be followed.
    .


    .....• Documents that will be signed and returned to Quicken Loans in the time frames specified.
    ..

    Please note that if the loan is in active bankruptcy or active foreclosure, the short sale may be contingent upon court approval..
    .
    .

    Sincerely,
    .

    Your Account Resolution Team




    If you have an active bankruptcy, or if you received a bankruptcy discharge, we are sending this for informational or legal purposes only. We’re not
    trying to collect against you personally. If you have any questions about this communication or your obligation to pay, please contact your attorney.
    If you want to send us a Qualified Written Request, a Notice of Error, or an Information Request, you must send it to the following address:
    Quicken Loans Inc.
    P.O. Box 442359
    Detroit, MI 48244-2359
    Fax: (877) 382-3138

    Questions? Contact Your Account Resolution Team.
                 Phone: (800) 508-0944                                            Hours: Monday – Friday: 8:30 a.m. – 9:00 p.m. ET
                  Email: AccountResolution@QuickenLoans.com                                   Saturday: 9:00 a.m. – 4:00 p.m. ET                            Page 1
             Secure Fax: (877) 380-5084                                                                                                                     LM138
